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                   IN IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION

   UNITED SERVICES AUTOMOBILE      )
   ASSOCIATION, a Texas reciprocal )
   inter-insurance exchange,       )
                                      Civil Action No. 2:20-cv-319-JRG (Lead)
                                   )
                                                   No. 2:21-cv-110-JRG
             Plaintiff,            )
                                   )
        vs.                        )
                                      JURY TRIAL DEMANDED
                                   )
   PNC BANK N.A.,                  )
                                   )
             Defendant.            )
                                   )
              UNITED SERVICES AUTOMOBILE ASSOCIATION’S
     MOTION TO PRECLUDE TRIAL TESTIMONY OF DR. OMID KIA DUE TO
                     EXCEPTIONAL DEPOSITION CONDUCT




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   I.         INTRODUCTION

              At his deposition, Dr. Kia refused to answer basic questions about the opinions in his report.

   When asked about his opinions, he frequently responded with “                           ” and

                                                                          Dr. Kia’s behavior demonstrated

   a clear intent to frustrate the deposition process and waste time, and it raises serious questions about

   his own knowledge of his purported opinions. This is not empty rhetoric.




              USAA requested that PNC remedy the situation by making Dr. Kia available for an additional

   4 hours of deposition time with a commitment that he cease simply responding to questions with the

   statement                         Ex. 1 (Jan. 8 Sheasby Email). PNC refused.

              In light of the behavior of both PNC counsel and Dr. Kia at the deposition, USAA requests

   the following remedies:

              (a) Dr. Kia should be precluded from testifying that the report reflects his own work or

   opinions he came to on his own;

              (b) For any question at deposition in which Dr. Kia refused to substantively answer but rather

   generically referenced his report, he should be precluded from providing testimony on the subject at

   trial.

   II.        LEGAL STANDARD

              This Court has inherent authority to fashion the appropriate sanction for exceptional

   deposition conduct. Rule 30(d)(2) provides that “[t]he court may impose an appropriate sanction…on

   a person who impedes, delays, or frustrates the fair examination of the deponent.” Fed. R. Civ. P.

   30(d)(2). The sanction must “address the relative harm . . . suffered” and should “act as a deterrent to


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   such future conduct in this and other cases.” Virnetx Inc. v. Cisco Sys., 2012 WL 7997962, at *5 (E.D.

   Tex. Aug. 8, 2012).

              Furthermore, the Fifth Circuit has recognized the district court’s broad discretion to impose

   orders “in order to control the litigation before it.” Wilson v Novartis Pharms. Corp., 575 F. App’x 296,

   298 (5th Cir. 2014). As explained in Johnson v. Hankook Tire America Corp.:

              From early in the federal courts’ history it has been understood that “[c]ertain implied
              powers must necessarily result to our courts of justice from the nature of their
              institution,” powers “which cannot be dispensed with in a court because they are
              necessary to the exercise of all others.” Natural Gas Pipeline Co. of America v. Energy
              Gathering, Inc., 2 F.3d 1397, 1407 (quoting United States v. Hudson, 7 Cranch 32, 34, 3
              L.Ed. 259 (1812). “When inherent powers are invoked ... they must be exercised with
              “restraint and discretion.” Gonzalez, 117 F.3d 894, 898 (5th Cir.1997) (citing Chambers,
              501 U.S. at 44, 111 S.Ct. 2123). When parties exploit the judicial process, through its
              inherent powers, a court may sanction conduct beyond the reach of other rules. Natural
              Gas Pipeline Co., 2 F.3d at 1407

   449 F. App’x 329, 332 (5th Cir. 2011). This inherent authority is “governed not by rule or statute but

   by the control necessarily vested in courts to manage their own affairs so as to achieve the orderly and

   expeditious disposition of cases.” Chambers v. NASCO, Inc., 501 U.S. 32, 43 (1991).

   III.       ARGUMENT

              A.     Dr. Kia Used Generic References to His Report to Evade Questioning
              Dr. Kia is a highly experienced paid expert witness. There is nothing per se wrong with this,

   but it is apparent that he has developed a tactic that he believes allows him to evade providing

   substantive answer to questions:                                                                        .

              For example, Dr. Kia claimed




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   Ex. 2 (Kia Depo.) at 17:8-19:22.

              This was not isolated behavior. As another example:




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   Id. at 84:15-89:10.

              B.     There Is Substantial Evidence that Dr. Kia Did Not Participate In the Drafting
                     of His Report
              There is substantial evidence that Dr. Kia’s strategy of generically referencing his report was

   driven by a more basic defect. There is no evidence that Dr. Kia drafted any portion of the report

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   himself, whether he came to any of his adopted opinions himself, and how many hours Dr. Kia spent

   working on his report, because                                                                    :




   Id. at 19:24-20:22. See also:




   Id. at 216:5-10.

              This is not a situation where PNC is taking a principled position that the drafting of an expert

   report is a privileged matter.

                                                                              :




   Ex. 3 (Creusere Depo.) at 10:9-21.

              C.      Requested Remedy
              Dr. Kia’s refusal to answer these basic questions is effectively no different than not providing

   the witness for deposition at all. Barrett v. Atlantic Richfield Co., 95 F.3d 375 (5th Cir. 1996) (finding no


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   abuse of discretion where the district court struck four expert witnesses for the party’s failure to

   produce them for depositions by the court’s deadline). As such, USAA respectfully requests that this

   Court preclude Dr. Kia from testifying as to the following topics as to which Dr. Kia was unable to

   testify:




   IV.        CONCLUSION

              USAA respectfully requests that this Court preclude Dr. Kia from testifying at trial as to the

   specific issues identified above.




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                              Respectfully submitted,

Dated: January 19, 2022
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                                     CERTIFICATE OF SERVICE

           I hereby certify that, on January 19, 2022 a copy of the foregoing was served to all counsel of

record.

                                                          /s/ R. Christopher Bunt




                CERTIFICATE OF AUTHORIZATION TO FILE UNDER SEAL

           I hereby certify that the foregoing document is authorized to be filed under seal pursuant to

the Protective Order entered in this case.

                                                          /s/ R. Christopher Bunt



                                 CERTIFICATE OF CONFERENCE

           Pursuant to Local Rule CV-7, counsel for USAA met and conferred with counsel for PNC.

The parties were unable to reach agreement and have reached an impasse, leaving an open issue for

the court to resolve. This motion is opposed by PNC.

                                                          /s/ R. Christopher. Bunt




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